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                              CERTIFICATE OF SERVICE
Case Name:      Antonio Edwards (BA1528) v.              No.    1:21-cv-01650-ADA-HBK (PC)
                G. Arreguin
I hereby certify that on August 23, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on August 23,
2023, at San Diego, California.

                A. Flores
           Declarant for eFiling                                     Signature

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.
I further certify that some of the participants in the case are not registered CM/ECF users. On
August 23, 2023, the foregoing document(s) have been mailed in the Office of the Attorney
General's internal mail system, by First-Class Mail, postage prepaid, or have dispatched it to a
third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:

Antonio Edwards
BA1528
California Substance Abuse Treatment Facility & State Prison, Corcoran
P.O. Box 5242
Corcoran, CA 93212-7100
In Pro Per
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on August 23,
2023, at San Diego, California.
               E. Olguin                                           /S/ E. Olguin
   Declarant for Service by U.S. Mail                                Signature

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